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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
            vs.                          )                 8:05CR363
                                         )
JOHN A. GELNETTE,                        )          SCHEDULING ORDER
                                         )
                   Defendant.            )




      IT IS ORDERED that the following is set for hearing on March 9, 2006 at
9:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

      - Motion for Reconsideration of Release from Detention [37] filed by the
      defendant.

     Since this is a criminal case, the defendant must be present, unless
excused by the Court.

      DATED this 7th day of March, 2006.

                                       BY THE COURT:


                                       s/ F.A. Gossett
                                       United States Magistrate Judge
